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                                                                                     FILED
                                                                         United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                         Tenth Circuit

                               FOR THE TENTH CIRCUIT                             May 20, 2019
                           _________________________________
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
    UNITED STATES OF AMERICA,

          Plaintiff - Appellee,

    v.                                                          No. 18-1364
                                                      (D.C. No. 1:15-CR-00200-REB-1)
    SHAWN SHIELDS,                                                (D. Colo.)

          Defendant - Appellant.
                         _________________________________

                               ORDER AND JUDGMENT*
                           _________________________________

   Before BRISCOE, BALDOCK, and BACHARACH, Circuit Judges.
                      _________________________________

         A federal jury convicted Shawn Shields of possessing contraband in prison.

   See 18 U.S.C. § 1791(a)(2). The district court sentenced him to thirty-seven months

   in prison, and Shields appealed, claiming the district court erred by denying his

   request to instruct the jury on the defense of necessity and refusing his request for

   discovery related to that defense. Exercising jurisdiction under 28 U.S.C. § 1291, we

   affirm Shields’ conviction.



         *
           After examining the briefs and appellate record, this panel has determined
   unanimously to honor the parties’ request for a decision on the briefs without oral
   argument. See Fed. R. App. P. 34(f); 10th Cir. R. 34.1(G). The case is therefore
   submitted without oral argument. This order and judgment is not binding precedent,
   except under the doctrines of law of the case, res judicata, and collateral estoppel. It
   may be cited, however, for its persuasive value consistent with Fed. R. App. P. 32.1
   and 10th Cir. R. 32.1.
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                                              I

         On March 18, 2015, Shields was involved in a verbal altercation with another

   inmate named Donald Heisler while confined at the United States Penitentiary –

   Administrative Maximum (ADX) in Florence, Colorado. The incident was captured

   on video from several angles in the two-level unit. See, e.g., Supp. R., Ex. 3a (Lower

   Level East Camera); id., Ex. 3d (Upper Level West Camera). The videos depict both

   men on the lower level, with Shields standing beneath a staircase exchanging words

   with Heisler. Id., Ex. 3d at 00:38-00:51. Shields walks swiftly under the staircase to

   the base of the stairs as Heisler either placed something on, or picked something up

   from, a nearby table.1 Id. at 00:52-00:53. Another angle appears to show Heisler

   pick something up from the table and almost immediately place it back down. See

   id., Ex. 3a at 00:42-00:43. Shields walked directly in front of Heisler and ran up the

   stairs as Heisler gave chase, making it some three or four steps before a third inmate,

   Vincent Basciano, grabbed Heisler and stopped him. Id., Ex. 3d at 00:53-00:59.

   Heisler told Shields, “Come back down here[,] and I’ll break your jaw.” R., Vol. 4 at

   279-80, 302. Basciano attempted to calm Heisler, telling him to think of his

   daughter. Heisler then walked down the stairs, picked up a drink from the nearby

   table, and remained on the lower level of the unit. Supp. R., Ex. 3d at 00:59-02:30.



         1
           During the trial, Heisler testified on direct examination that he grabbed an ice
   pick—a 10 inch shank that he crafted from a dry dust mop—from the table. See R.,
   Vol. 4 at 261-62. On cross-examination, however, Heisler testified that he did not
   threaten Shields with any kind of weapon and that “if [Shields] brought one to me, I
   was just going to take his.” Id. at 298.
                                              2
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         Meanwhile, Shields, who by now was at the top level of the unit, went to the

   door of his cell, picked something up from the floor, and placed it in his waistband.

   Id. at 00:58-01:07. Shields and Heisler stayed on the different levels of the unit for

   more than a minute, until Heisler jogged up the stairs, approached Shields, and then

   turned and walked in the opposite direction, with Shields following him. Id. at

   0:59-02:35. After several feet, the men stopped and exchanged more words until

   Heisler walked away again. Id. at 02:36-02:54. Once more, Shields followed,

   although this time, the two men walked next to one another to the far end of the unit,

   where they stopped and talked for several minutes. Id. at 02:55-07:11. At this point,

   while perhaps initially frustrated, they both soon appeared to be fairly calm and

   casual. See id., Ex. 3c (Upper Level East Camera) at 03:09-07:15.

         At trial, Officer Joseph Hill testified that he heard the initial commotion, went

   to see what was going on, and observed Basciano and Heisler on the stairs, with

   Basciano holding Heisler’s leg.2 The inmates told him, “Nothing’s going on.

   Everything’s okay,” R., Vol. 4 at 63 (internal quotation marks omitted), but Hill

   ordered the prison’s Special Investigative Services (SIS) to review the surveillance

   footage. Shields and Heisler insisted “they were both cool,” id. at 80, but SIS locked

   down the unit. SIS then interviewed both men and transferred them to the Special

   Housing Unit (SHU), where there is no interaction between inmates and all inmates

   are subject to full-body x-ray scans via a SecurPass machine.


         2
           Hill testified that he could not tell what Heisler had in his hands, but he was
   not concerned that Heisler had a weapon. R., Vol. 4 at 68-69.
                                              3
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         Senior Officer Specialist Terral Anderson testified that he operated the

   SecurPass machine when Shields was admitted to SHU. He testified that only

   Shields and several other officers were present when Shields was processed. He

   indicated that he twice observed a metal object on Shields’ body scans, and although

   Shields initially denied having any contraband, he eventually stated that if officers

   showed him the images, he would give it up.

         Lieutenant Charles Alvarez, who was present after the first scan, escorted

   Shields to the SecurPass monitor and showed him the image. Upon seeing his scan,

   Shields responded, “Okay. You got me. Technology is a bitch nowadays. Just

   escort me to the holding tank there, and I’ll give it to you[,] plus I don’t want

   [Physician Assistant] Osagie’s fat fingers in my ass.” Id. at 206-07. Alvarez took

   Shields to a holding cell, where he observed Shields squat down and pull something

   out of his rectum. Shields placed the object in a bedpan and was escorted back to the

   SecurPass machine, where he was scanned for a fifth time. This time, the image was

   clear, reflecting no evidence of contraband.

         SIS Officer Jaime Munoz testified that he took possession of the object

   recovered from Shields’ rectum. Munoz stated that he unwrapped a plastic and

   cardboard sheath and discovered two pieces of metal, each sharpened to a point: one

   was four and one-half inches long; the other was one and one-half inches long. At no

   time during any of Shields’ interactions with Munoz, Anderson, or Alvarez did

   Shields ever express that he had any safety concerns regarding Heisler. Alvarez

   testified that Shields offered no explanation at all for possessing the weapons.

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         After Shields was indicted, he sought discovery to prepare a necessity defense.

   The district court held a hearing and denied the request, ruling that the information

   Shields sought was immaterial because he was never under an imminent threat of

   harm as required in order to raise a necessity defense. Shields also sought a jury

   instruction on necessity, and although the court allowed him to put on evidence, it

   ultimately refused the instruction, ruling there was an insufficient evidentiary basis

   for a necessity instruction. Shields was convicted and now appeals.

                                              II

         Shields contends the district court erred in failing to instruct the jury on the

   defense of necessity and in denying his request for discovery related to that defense.

   We consider these contentions in turn.

         A. Necessity Instruction

         “If supported by the evidence and the law, a criminal defendant is entitled to

   jury instructions concerning his theory of defense.” United States v. Butler, 485 F.3d

   569, 571 (10th Cir. 2007). But “[a] defendant is not entitled to an instruction which

   lacks a reasonable legal and factual basis.” United States v. Al-Rekabi, 454 F.3d

   1113, 1121 (10th Cir. 2006) (internal quotation marks omitted). “For the purposes of

   determining the sufficiency of the evidence to raise the jury issue, the testimony most

   favorable to the defendant should be accepted.” Id. (internal quotation marks

   omitted). We review the denial of a necessity instruction for abuse of discretion.

   See United States v. Dixon, 901 F.3d 1170, 1176 & n.2 (10th Cir. 2018) (reviewing

   denial of duress instruction for abuse of discretion). “Under this standard, we will

                                              5
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   reverse the district court only if it based its ruling on an erroneous view of the law or

   on a clearly erroneous assessment of the evidence.” Id. (internal quotation marks

   omitted). “[W]hether there is sufficient evidence to constitute a triable issue of the

   defense is a question of law.” Id. (brackets and internal quotation marks omitted).

         When a defendant seeks to instruct the jury on the defense of necessity, he

   must show “(1) there is no legal alternative to violating the law, (2) the harm to be

   prevented is imminent, and (3) a direct, causal relationship is reasonably anticipated

   to exist between defendant’s action and the avoidance of harm.” Al-Rekabi, 454 F.3d

   at 1121 (internal quotation marks omitted). “The necessity exception should be

   strictly and parsimoniously applied.” Id. at 1122. “To qualify for an instruction on

   an affirmative defense such as necessity a defendant must produce evidence of each

   element sufficient to warrant its consideration by the jury.” Id.

         Shields failed to satisfy any of the required elements. First, “the ability to

   contact law enforcement will generally constitute a reasonable alternative to illegal

   activity.” Dixon, 901 F.3d at 1179 (brackets and internal quotation marks omitted).

   But Shields made no effort to contact or otherwise notify the prison guards of any

   threat. Instead, he told Officer Hill everything was “cool.” Although Hill testified

   that there is no direct physical contact between guards and inmates at ADX unless the

   inmate is restrained, there was no physical impediment that prevented Shields from

   telling Hill about a threat. Moreover, Hill explained that he could have used his

   pepper spray if there was a security concern but there was no threat or danger posed

   to any inmate. Additionally, Hill testified that each cell has a duress button, which is

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   not a private means of communicating but it is available for medical emergencies and

   the like. Also, Hill testified that inmates can pass “cop-out” notes to guards at meal

   times, R., Vol. 4 at 57, or send a letter to the staff via the confidential mail. The

   availability of these options was corroborated by Alvarez and SIS Lieutenant Amy

   Kelley, who similarly testified that inmates can stop and speak to any staff member,

   write a cop-out note, hit the duress button, or directly express any safety concern to

   an SIS member. Shields failed to avail himself of any of these options.

         Shields contends that these were not viable options because they would have

   left him labeled a snitch. He points out that the duress button is not private and that

   passing a note to the guards could be seen by other inmates. He also says he did not

   express any safety concerns during his SecurPass screening because he was never

   given the opportunity. And he contends that the lack of direct contact between

   inmates and guards at ADX required that he defend himself.

         These allegations are unavailing. Initially, we reject Shield’s sweeping

   assertion that lack of direct contact between guards and inmates at ADX justified his

   possession of weapons. See United States v. Sahakian, 453 F.3d 905, 909 (7th Cir.

   2006) (“[P]risons are inherently dangerous places, [but] this perilous atmosphere,

   per se, does not justify the possession of a weapon.”). Indeed, this argument would

   justify every inmate at ADX to possess a weapon. Although Shields cites Heisler’s

   testimony that he walked with Shields to the far end of the unit so guards could not

   reach him with pepper spray if there was a physical altercation, he ignores Heisler’s

   other testimony that he and Shields walked to the far end of the unit so guards could

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   see them talking and know there was no problem. See R., Vol. 4 at 273-74. And in

   any event, “mere allegations that [law enforcement] would have been ineffective or

   unwilling to protect [defendant] fall well short of satisfying a defendant’s burden.”

   Dixon, 901 F.3d at 1179 (ellipsis and internal quotation marks omitted).

         Additionally, if Shields truly faced an imminent threat, he should have said so,

   either during his interview with SIS or during his processing into SHU, when only

   prison guards were present. On this score, we reject Shields’ assertion that he could

   not notify the prison guards for fear of being labeled a snitch. See United States v.

   Bello, 194 F.3d 18, 27 (1st Cir. 1999) (summarily rejecting snitch defense); United

   States v. Haynes, 143 F.3d 1089, 1090-91 (7th Cir. 1998) (rejecting claim of

   self-defense premised in part on fear of being labeled a snitch). There was ample

   testimony that inmates routinely use the food-tray slots of their cells to pass notes to

   guards seeking medical care and other services. Hill explained that other inmates

   would not know whether an inmate was seeking such services or reporting a threat.

   He also testified that prison mail is opened and read by SIS, reflecting another means

   by which Shields could have contacted prison staff without alerting other inmates.

   Given the options available to him, Shields was not entitled to a necessity instruction.

         Although we need not consider the remaining elements for a necessity

   instruction, see Butler, 485 F.3d at 572 n.2, Shields also fails to satisfy the second

   element requiring an imminent threat of death or serious bodily injury. In the prison

   context, the element of imminence is construed narrowly. Sahakian, 453 F.3d at 909.

   The defendant must be “under an unlawful and present, imminent, and impending

                                               8
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   threat of such a nature as to induce a well-grounded apprehension of death or serious

   bodily injury.” Butler, 485 F.3d at 572 (brackets and internal quotation marks

   omitted).3 It is not enough that an inmate express some generalized fear of attack in

   the future; rather, he must show that “the threat was immediate and that there was no

   reasonable alternative to violating the law.” Sahakian, 453 F.3d at 909 (internal

   quotation marks omitted); see 2 Wayne R. LaFave, Substantive Criminal Law

   § 10.1(d)(5) (3d ed. 2018) (“[T]he defense of necessity does not apply except in an

   emergency—when the threatened harm is immediate, the threatened disaster

   imminent.”). “[E]vidence of frequent violence in a prison—an inherently dangerous

   place inhabited by violent people—does not establish the kind of imminent threat

   required to support a necessity defense.” United States v. Feather, 768 F.3d 735, 740

   (7th Cir. 2014) (brackets, ellipsis, and internal quotation marks omitted).

         Shields presented no evidence of an imminent danger. The videos depict a

   verbal altercation in which Heisler attempted to chase Shields up the stairs until

   Basciano stopped him. Although the evidence was inconclusive whether Heisler had

   a weapon at that time, any potential danger subsided once Heisler calmed down. This

   is confirmed by Shields’ own behavior: when Heisler walked up the stairs to speak

   with him, Shields did not run away or defend himself; rather, he spoke to Heisler and

   repeatedly followed him around the unit. He also told Hill everything was “cool,”


         3
             Although Shields evaluates the imminence of a potential threat from his
   subjective perspective, we view the evidence objectively. See, e.g., Butler, 485 F.3d
   574 (“Objectively considered, the duress or necessity, even if initially present, had
   lost its coercive force.” (internal quotation marks omitted)).
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   and after SIS locked down the unit, he never told any prison official that Heisler

   might attempt to harm him. “His acts are simply not consistent with an imminent

   threat.” Al-Rekabi, 454 F.3d at 1125.

         Additionally, the evidence does not establish when Shields came to possess the

   weapons, nor does he explain why he refused to surrender them. “The justification of

   necessity lasts only as long as the circumstances giving rise to it.” Id. at 1123.

   Although one video depicts Shields retrieve something from beneath his cell door

   after he ran up the stairs, it is not apparent whether he was retrieving the weapons,

   and it is entirely possible that he possessed them prior to the altercation. Moreover,

   the evidence establishes that he surrendered the weapons only after he was

   confronted with his body scans revealing metal in his abdominal area. Yet a

   necessity instruction requires “proof of abandonment of illegal conduct at the earliest

   possible opportunity.” Butler, 485 F.3d at 573.

         Nor can Shields establish the third element warranting a necessity instruction,

   which requires a direct, causal relationship between his possession of the weapons

   and the avoidance of harm. He asserts arming himself enabled him to slow or stop an

   assailant, but this logic would justify virtually every inmate to possess a weapon.

   And in any event, we are not convinced that by concealing shanks in his rectum

   Shields was reasonably acting to thwart an imminent threat, if one had existed.

   Shields was not entitled to a necessity instruction.4


         4
         Shields maintains that threats and apprehension can satisfy the element of
   imminence and that fear of being labeled a snitch can render unavailable the option
                                              10
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         B. Discovery

         Shields also challenges the district court’s denial of his discovery request for:
         a. all Bureau of Prisons [BOP] policies, procedures, rules, memoranda, and
            regulations governing
             i. BOP personnel entering housing units, including SHU and Step-Down, in
                  ADX Florence in response to disturbances in that unit;
             ii. assignment of prisoners to BOP facilities and to specific housing units
                  within those facilities based on points assigned by BOP to prisoners;
             iii. the days and times prisoners may be out of their cells in all housing units
                  at ADX Florence, including the SHU and Step-Down units; and
             iv. visits with prisoners by family and by legal counsel.

         b. all BOP records pertaining to prisoner-on-prisoner threats and violence in the
            Step-Down unit at ADX Florence, said records to include information
            specifying whether there was criminal prosecution.

         c. BOP records pertaining to Donald Heisler . . ., specifically records of threats
            and violence by Mr. Heisler, his methadone prescriptions, and his psychiatric
            and psychological records.

         ....

          g. those statistics showing the number of prisoners held in ADX Florence, and in
             the SHU and Step-Down unit, who have been (a) diagnosed with mental
             illness and/or (b) convicted of violent crimes.

   R., Vol. 1 at 10-11. Additionally, Shields sought to compel Basciano’s testimony via



   of contacting prison officials. He relies on United States v. Haney, 287 F.3d 1266
   (10th Cir. 2002), vacated on reh’g, 318 F.3d 1161 (10th Cir. 2003) (en banc), and
   United States v. Francis, 38 F. App’x 556 (10th Cir. 2002) (unpublished), but these
   cases are inapposite. In neither case did we consider the evidentiary basis for a
   necessity instruction. Rather, as indicated, Haney was vacated on rehearing, where
   we concluded the defendant waived a duress defense based on his status as a
   principal. 318 F.3d at 1163. And in Francis, we simply recognized that the elements
   of duress are conjunctive and that failure to establish any one element precludes
   application of the defense. 38 F. App’x at 558-59. We also determined there was no
   inconsistency between a jury’s application of the duress defense to an attempted
   escape charge and the jury’s refusal to apply the defense to a charge of possessing
   escape paraphernalia. Id. at 559-60. These cases do not advance Shields’ cause.
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   writ of habeas corpus ad testificandum.

          After a hearing, the district court denied the discovery request, reasoning that

   Shields failed to show he was operating under an imminent threat of danger and thus the

   information he sought was immaterial. The court also declined to compel Basciano’s

   testimony, ruling in part that Shields failed to make a proffer to state how the testimony

   was relevant. After Shields made an additional proffer, the court affirmed its prior ruling,

   crediting his allegations but reasoning he still failed to show an imminent threat. We

   perceive no abuse of discretion. See United States v. Apperson, 441 F.3d 1162, 1191

   (10th Cir. 2006) (standard of review for discovery ruling); United States v. Reed,

   413 F.2d 338, 341 (10th Cir. 1969) (standard of review for denial of writ of habeas

   corpus ad testificandum). As we have explained, Shields was not in any imminent

   danger, rendering additional discovery or testimony related to a necessity defense

   immaterial. Further, much of the information Shields sought—information pertaining to

   BOP policies, inmate activity and housing assignments, and mental health or violent

   crime statistics of other inmates—was not relevant to a necessity defense. The district

   court therefore acted well within its discretion in denying Shields’ requests.

                                                III

          The district court’s judgment is affirmed.

                                                            Entered for the Court


                                                            Mary Beck Briscoe
                                                            Circuit Judge



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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                             Chris Wolpert
   Clerk of Court                         May 20, 2019                          Chief Deputy Clerk




   Mrs. Deborah Lynn Roden
   Woodhouse Roden LLC
   1912 Capitol Avenue, Suite 500
   P.O. Box 1888
   Cheyenne, WY 82001

   RE:       18-1364, United States v. Shields
             Dist/Ag docket: 1:15-CR-00200-REB-1

   Dear Counsel:

   Enclosed is a copy of the order and judgment issued today in this matter. The court has
   entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

   Pursuant to Fed. R. App. P. Rule 40(a)(1), any petition for rehearing must be filed within
   14 days after entry of judgment. Please note, however, that if the appeal is a civil case in
   which the United States or its officer or agency is a party, any petition for rehearing must
   be filed within 45 days after entry of judgment. Parties should consult both the Federal
   Rules and local rules of this court with regard to applicable standards and requirements.
   In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
   and no answer is permitted unless the court enters an order requiring a response. If
   requesting rehearing en banc, the requesting party must file 6 paper copies with the clerk,
   in addition to satisfying all Electronic Case Filing requirements. See Fed. R. App. P.
   Rules 35 and 40, and 10th Cir. R.35 and 40 for further information governing petitions
   for rehearing.
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   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



   cc:       Marissa Rose Miller




   EAS/lab




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